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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                           Plaintiffs,                                        8:17CR154

        vs.
                                                                               ORDER
NATASHA M. WOLFE,

                           Defendant.


        This matter is before the court on defendant's unopposed MOTION FOR EXTENSION OF TIME
FOR FILING PRETRIAL MOTIONS [50]. For good cause shown, I find that the motion should be
granted. The defendant will be given an approximate 31-day extension to coincide with the extensions of
time given to co-defendants in this case. Pretrial Motions shall be filed by July 31, 2017.


        IT IS ORDERED:
        1.      Defendant's unopposed MOTION FOR EXTENSION OF TIME FOR FILING
PRETRIAL MOTIONS [50] is granted. Pretrial motions shall be filed on or before July 31, 2017.
        2.      Defendant is ordered to file the affidavit required by Rule 16(c), Fed. R. Cr. P. and NE.
Crim. R. 12.1 forthwith.
        3.      The ends of justice have been served by granting such motion and outweigh the interests
of the public and the defendant in a speedy trial. The additional time arising as a result of the granting of
the motion, i.e., the time between June 30, 2017 and July 31, 2017, shall be deemed excludable time in
any computation of time under the requirement of the Speedy Trial Act for the reason defendant's counsel
required additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


        Dated this 3rd day of July, 2017.

                                                           BY THE COURT:

                                                           s/ Michael D. Nelson
                                                           United States Magistrate Judge
